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     1   THE GRAVES FIRM
         ALLEN GRAVES (SB#204580)
     2                                                     CONFORMED COP
         allen@gravesfirm.com                                  OF ORIGINAL FILED
                                                             Los A nnelPc Cienprinr Court
    3    JACQUELINE TREU (SB#247927)
         jacqueline@gra.vesfirm.com                                 AUG 14 2015
     4   122 N. Baldwin Ave., Main Floor
                                                          Shed R. Outer, Executive Officer/Clerk
     5   Sierra Madre, CA 91024                                  By: Moses Soto, Deputy
         Telephone: (626) 240-0575
     6   Facsimile: (626) 737-7013
     7   Attorneys for Plaintiff
         Nazanin Tehrani
     8
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
     9
                                         COUNTY OF LOS ANGELES
    10
    11
         Nazanin Tehrani, an individual,           CASE NO.          6c 5 9 1 4 8 0
    12   appearing on behalf of herself and all    CLASS ACTION COMPLAINT FOR:
         others similarly situated,
    13
                                                    1. Failure to Reimburse Employee
                           Plaintiff,                  Business Expenses in Violation of
    14
                                                       Labor Code §2802; and
    15          v.
                                                    2. Violation of Business and Professions
    16   Macy's West Stores, Inc. and DOES 1-          Code §17200 et seq. against all
         10, inclusive,                                Defendants.
    17
                           Defendants.
    18                                             DEMAND FOR JURY TRIAL
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     1           Plaintiff Nazanin Tehrani ("Tehrani" or "Plaintiff") alleges as follows:
     2
     3                                         INTRODUCTION
     4           1.     Plaintiff brings this Complaint to recover amounts that are owed to her,
     5    other past and present Sales Managers, and the State of California as a result of Defendant
     6    Macy's West Stores, Inc.'s (hereinafter "Macy's" or "Defendant") failure to reimburse its
     7    California Sales Managers for the costs of electronic equipment and services the
     8    employees were required to purchase to perform their job duties, in violation of Labor
     9    Code §2802.
    10           2.     Plaintiff brings this action as both a representative action pursuant to Labor
    11    Code §2699 et seq., and on behalf of herself and a class of current and former Macy's
    12    employees pursuant to California Code of Civil Procedure §382. The class includes all
    13    individuals who have worked for Defendant as a Sales Manager in California at any time
    14    since the date four years prior to the filing of the instant case.
    15           3.      The Sales Manager position is also sometimes referred to by Defendant as
    16    "Selling Manager," "Cosmetics Manager," "Merchandise Team Manager," "Team
    17    Manager" or "Department Manager." In this Complaint, the term "Sales Manager" is
    18    used to refer to any position described by any of these titles.
    19           4.      Plaintiff's class claims are limited to claims for unreimbursed expenses. All
    20    claims for penalties are brought exclusively as a Private Attorney General.
    21
    22                                           THE PARTIES
    23           5.      Tehrani is a citizen of the United States and a resident of Los Angeles
    24    County, California. From early 2010 until October 6, 2014, Macy's employed Tehrani in
    25    Los Angeles County, California as a Sales Manager.
    26            6.     Macy's is a corporation organized under the laws of the State of Ohio that
     27   operates retail establishments throughout California.
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     1          7.     Plaintiff is currently unaware of the true names and capacities of the
     2    Defendants sued herein as Does 1 through 10 (the "Doe Defendants") and therefore sues
     3    the Doe Defendants by such fictitious names. Plaintiff will amend this Complaint to
     4    allege the true names and capacities of the Doe Defendants when they are ascertained.
     5           8.     Plaintiff is informed and believes, and thereon alleges, that the Doe
     6    Defendants are the partners, agents, or principals and co-conspirators of the named
     7    Defendant, and of each other; that the named Defendant and the Doe Defendants
     8    performed the acts and conduct herein alleged directly, aided and abetted the performance
     9    thereof, or knowingly acquiesced in, ratified, and accepted the benefits of such acts and
    10    conduct, and therefore each of the Doe Defendants is liable to Plaintiff to the extent of the
    11    liability of the named Defendant as alleged herein.
    12           9.     Plaintiff is informed and believes, and on that basis alleges, that at all times
    13    herein mentioned, all of the Defendants are a single employer.
    14           10.    Plaintiff is informed and believes, and on that basis alleges, that at all times
    15    herein mentioned, each of the Defendants was the agent, servant and/or employee of each
    16    of the other Defendants and in connection with the matters hereinafter alleged, was acting
    17    within the scope of such agency and employment, and each Defendant ratified each and
    18    every act, omission and thing done by each and every other Defendant herein.
    19
    20                                 JURISDICTION AND VENUE
    21           11.    This Court has jurisdiction in this action because: Defendant committed
    22    wrongful acts against the Plaintiff in Los Angeles County; because Defendant resides in
    23    this jurisdiction; and because service was effected on Defendant while such Defendant
    24    was voluntarily present in California.
    25           12.    Venue is proper under California Code of Civil Procedure §395.5, as it is
    26    the county where liability against Macy's arises.
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     1                                      LABOR CODE 42699
     2           13. Plaintiff realleges and incorporates herein by this reference the allegations
     3    of paragraphs 1 through 12 hereof, inclusive.
     4           14. California Labor Code §2699 et seq. authorizes Plaintiff to recover civil
     5    penalties on behalf of herself, the State of California, and all other Macy's Sales Managers
     6    who have been employed in California for each Labor Code violation described herein.
     7           15. Plaintiff hereby seeks to recover civil penalties for each Labor Code
     8    violation described herein on behalf of herself, the State of California, and all other
     9    Macy's Sales Managers who have been employed in California pursuant to California
    10    Labor Code §2699 et seq.
    11           16. Pursuant to California Labor Code §2699.3, on March 6, 2015, Plaintiff
    12    gave written notice by certified mail to the Labor and Workforce Development Agency,
    13    and the employer, of the specific provisions of the code alleged to be violated in this
    14    Complaint, including the facts and theories to support the alleged violation.
    15           17. More than 33 days have passed since Plaintiff gave written notice by
    16    certified mail to the Labor and Workforce Development Agency and the employer. The
    17    Labor and Workforce Development Agency has not provided any notice of intent to
    18    investigate any of the alleged violations.
    19
    20                                   COMMON ALLEGATIONS
    21           18. Plaintiff realleges and incorporates herein by this reference the allegations
    22    of paragraphs 1 through 17 hereof, inclusive.
    23           19. Macy's owns and operates retail establishments throughout the State of
    24    California, which sell a variety of items, including clothing, cosmetics and housewares,
    25           20. Macy's employs multiple Sales Managers at each of its California retail
    26 locations.
     27
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     1           21.    All Sales Managers at Macy's are subject to a common policy requiring
     2    Sales Managers to own and maintain cell phones for use in conducting their duties.
     3           22.    At all times relevant hereto, Macy's has required all of its Sales Managers to
     4    be available by personal cell phone to both their subordinates and superiors both during
     5    and outside of their scheduled work hours.
     6           23.    Beginning on or around May 2014, all Sales Managers at Macy's were and
     7    are subject to a common policy requiring them to purchase electronic tablets, such as
     8    iPads, and use these tablets in order to conduct their employment duties.
     9           24.    At all times relevant hereto, Macy's has refused to reimburse Sales
    10    Managers in California for costs incurred in purchasing and operating these cell phones
    11    and electronic tablets.
    12
    13                                    FIRST CAUSE OF ACTION
    14                              (Failure to Reimburse Employee Expenses)
    15           25.    Plaintiff realleges and incorporates herein by this reference the allegations
    16    of paragraphs 1 through 24 hereof, inclusive.
    17           26.    At all times relevant hereto, Labor Code §2802 has required Defendant to
    18    reimburse all employees for necessary expenditures incurred by the employee in the direct
    19    consequence of the discharge of his or her duties or of his or her obedience to the
    20    directions of the employer.
    21           27.    At all times relevant hereto, Macy's required every Sales Manager to own
    22    and maintain a cell phone in order to be available to take work related calls 24 hours per
    23    day and 7 days per week.
    24           28.    At all times relevant hereto, Macy's maintained a policy and uniform
    25    practice of both contacting Sales Managers on their cell phones and requiring Sales
    26    Managers to use their cell phone to contact Macy's employees and executives.
     27
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     1          29. At all times relevant hereto, Macy's maintained a uniform policy of refusing
     2   to pay for any of the costs associated with the cell phone that each Sales Manager was
     3   required to maintain.
     4          30. Beginning in or around May 2014, Macy's directed every Sales Manager to
     5   use a software application named "MyStore," in conjunction with coaching and discipline
     6   of subordinates. Sales Managers were also required to use the MyStore app to track,
     7   record and otherwise manage the coaching and discipline process.
     8          31. Every Sales Manager was required to install the MyStore app on at least one
     9   device, and the Sales Manager was required to provide the device.
    10          32. Due to the software design of the MyStore App, it was impossible to operate
    11   the MyStore App effectively on a cellular telephone. Macy's was aware of this limitation
    12   of the MyStore App, and purchased iPad electronic tablets for its Store Managers so that
    13   its Store Managers could operate the MyStore App.
    14          33. Macy's did not provide any hardware to its Sales Managers on which they
    15   could run the MyStore App, nor did Macy's offer to provide such hardware.
    16          34. Because Macy's required Sales Managers to use the MyStore App as part of
    17   their day-to-day duties, the Sales Managers were forced to purchase electronic tablets in
    18   order to operate the MyStore App.
    19          35. At all times relevant hereto, Macy's maintained a uniform policy of refusing
    20   to pay for any of the costs associated with the electronic tablets that each Sales Manager
    21   was required to purchase and maintain.
    22
    23                               SECOND CAUSE OF ACTION
    24                                  (Violation of Business and
    25                   Professions Code §17200 et seq. Against All Defendants)
    26          36. Plaintiff realleges and incorporates herein by this reference the allegations
    27   of paragraphs 1 through 35 hereof, inclusive.
    28
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     1             37.   The conduct described in the first cause of action constitutes an unfair
     2    business practice.
     3             38.   Plaintiff has suffered injury in fact and lost money and/or property as a
     4    result of such unfair competition, in the form of amounts expended on purchasing cellular
     5    phones, purchasing electronic tablets, and purchasing service plans for these devices.
     6             39.   By deliberately failing to reimburse its employees for necessary
     7    expenditures incurred by the employees in the direct consequence of the discharge of their
     8    duties, Macy's avoided substantial expenses and thereby enriched itself at the expense of
     9    its employees.
    10             40.   Plaintiff seeks full restitution from Macy's to restore any and all monies
    11    withheld, acquired and/or converted by Macy's by means of the unfair practices
    12    complained of herein.
    13             41.   Plaintiff further seeks the issuance of a preliminary and permanent
     14   injunction prohibiting Macy's from further engaging in the conduct described herein.
     15
     16                               CLASS ACTION ALLEGATIONS
     17            42.   Plaintiff realleges and incorporates herein by this reference the allegations
     18   of paragraphs 1 through 41 hereof, inclusive.
     19            43.   Macy's employs over 150 Sales Managers in California.
     20            44.   Plaintiff is informed and believes, and thereon alleges, that all Macy's Sales
     21   Managers in California have been subject to Macy's violations of the California Labor
     22   Code described herein.
     23            45.   Plaintiff is informed and believes, and thereon alleges, that Plaintiff has
     24   been subject to the exact same violations of the California Labor Code described herein as
     25   all other Sales Managers in California.
     26            46.   Plaintiff has agreed to fairly and adequately represent the rights of the class.
     27            47.   Plaintiff has the means to fairly and adequately represent the rights of the
     28   class.
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     1           48.    Plaintiff is informed and believes, and thereon alleges, that her claims are
     2    typical of the class.
     3           49.     Plaintiff is informed and believes, and thereon alleges, that common
     4    questions of law and fact predominate with regard to all class claims.
     5           50.     Plaintiff is informed and believes, and thereon alleges, that a class action is
     6    superior to all other available means of resolving the class members' claims.
     7           51.     Plaintiff is informed and believes, and thereon alleges, that treatment of the
     8    instant claims as a class action will accrue substantial benefits to the litigants, the class,
     9    the public, and the courts.
    10           52.     The total value of Plaintiff's individual claims is less than $75,000. The
    11    total amount in controversy in all of the claims exclusive of penalties that Plaintiff seeks
    12    to collect under the Private Attorney General Act is less than $5,000,000.
    13
    1.4                                     PRAYER FOR RELIEF
    15           WHEREFORE, Plaintiff prays for judgment against Macy's and Does 1 through
    16    10, inclusive, and each of them, as follows:
    17
    18    ON THE FIRST CAUSE OF ACTION:
    19    1. For damages according to proof;
    20    2. For restitution of unpaid employee business expenses;
    21    3. For temporary, preliminary and permanent injunctive relief against Defendant's
    22        ongoing violations of the Labor Code specifically requiring that Defendant either
    23        discontinue its policy of requiring employees to use personal phones and tablets for
     24       work or compensate employees for the cost of these devices and the charges associated
     25       with them;
     26   4. For civil penalties pursuant to Labor Code §2699(f);
     27   5. For attorney fees and costs reasonably incurred, in accordance with California Labor
     28       Code §p18.5, 2802, 1194, and California Code of Civil Procedure §1021.5; and
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     1    6. For interest pursuant to T,ahor Code §§2802, 218.6 and 1194, and Civil Code §3287.
     2
     3    ON THE SECOND CAUSE OF ACTION:
     4    1. For temporary, preliminary and permanent injunctive relief against Defendant's
     5       ongoing violations of the Labor Code;
     6    2. For disgorgement of Defendant's ill-gotten gains and other relief that may be
     7       necessary to remedy Defendant's misconduct;
     8    3. For restitution of payments unlawfully withheld;
     9    4. For attorney fees and costs reasonably incurred pursuant to California Code of Civil
    10       Procedure §1021.5; and
    11    5. For interest pursuant to Civil Code §3287.
    12
    13    ON ALL CAUSES OF ACTION:
    14    1. For costs of suit, to the extent not otherwise prayed for above;
    15    2. For attorney fees to the extent not otherwise prayed for above;
    16    3. For interest on damages recoverable; and
    17    4. For such other and further relief as the Court deems just and proper.
    18
    19                                 DEMAND FOR JURY TRIAL
    20           Plaintiff hereby demands a jury trial.
    21
    22    DATED: August 13, 2015              THE GRAVES
    23
    24                                        By:
                                                                JACQUELINE TREU
   . 25
                                                 orney for Plaintiff
    26                                          azanin Tehrani

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